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EXHIBIT 5

FinCEN 2011 Annual Report

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Annual Report

Financial Crimes Enforcement Network

Fiscal YearZ 01 1

 

    

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Mission Statement

 

 

FinCEN’s mission is to enhance U.S. national security,
deter and detect criminal actioity, and safeguard financial
systems from abuse by promoting transparency in the U.S.

and international financial systems

 

 

Financial Crimes Enforcement Networlc

 

Remarks

 

TF| Reflects Upon Anniversary of Terrorist Attacks,
Continues to Combat Terrorist Financing

“The long arc of Treasury's ejj”orts to counter terrorist financing began before 9/11, with
work by Secretaries Rubin, Summers, and O'Neill to combat money laundering

After 9/11, it was evident that we needed a dedicated office to disrupt the funding networks
to terrorist organizations Secretary Snow established Treasury's Ojj"ice of Terrorisrn and
Financial Intelligence, or Tl-`l, and President Bush named Stuart Levey its first Under
Secretary.

Stuart, together with a remarkably talented group of individuals built a comprehensive
strategy to combat terrorist financing, armed with an innovative, powerful set of tools.
Their accomplishments have fundamentally changed and strengthened the way we fight
terrorism.

That team - which is led today by David Cohen, Danny Glaser, Leslie Ireland, Adam
Szubin and ]im Freis - continues to carry on the work that Stuart and Secretary Paulson
were instrumental in establishing."

Timothy Geithner

Secretary of the Treasury

Remarks as Prepared for Delivery at the Departrnent'$ Counter-'l`errorist
Financing Symposium

September 8, 2011

 

Financial Crimes Enforcement Network

 

in FinCEN’s history, and one of which the women

and men of FinCEN can be justifiably proud.
Our successes can be attributed to fulfillment of our core
mission in supporting law enforcement and protecting
the integrity of the financial markets against criminal
abuse. Fiscal year 2011, as well as looking ahead to
2012, will serve as a period of transformation as we
dedicate significant time and effort to forward-looking
investments - in technology and the people Who use it, while solidifying
existing and developing new partnerships - that will yield benefits for
years to come.

T he past year has been one of the most productive

 

As FinCEN celebrated the 20th anniversary of its establishment last year,
we recalled the visionaries Who conceived of a dedicated, data-driven
network to link law enforcement at the Federal, State, and local levels,'
together with a broad range of financial institutions and the agencies that
supervise them; both domestically and internationally,' and to leverage
their collective insights in furtherance of a common goal of protecting
our people against the scourge of money laundering and other financial
crime. Since time immemorial, we have known that money motivates
almost all criminal behavior. The insight of these founders Was how to
better follow the money and turn financial information into financial
intelligence to detect and deter criminal behavior. The greatest tribute to
those visionaries is for FinCEN to bring their dreams to fruition, and in
fiscal year 2011 the facts speak for themselves

FinCEN is fundamentally a service organization to law enforcement,
and, therefore, we measure our performance in relevant part by our
ability to advance the missions of our respective law enforcement
customers FinCEN analysis at the strategic level supports intelligence-
led efforts to more efficiently deploy law enforcement resources to
combat threats, while case level analysis furthers specific criminal
investigations and prosecutions Even as we have focused for decades
on expanding law enforcement access to, and utilization of, the financial
transactions reporting that FinCEN collects and holds in the public trust,
our collective experience has repeatedly and increasingly confirmed the
value to law enforcement of analytical support by FinCEN’s small yet

 

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Message from the Director

highly specialized team. This can best be understood in the context of
the facts that a criminal investigator, even one specialized in financial
crime, may spend years on all aspects of a case in Which detailed
financial transactions analysis comprises only a small percentage of the
investigators time (even if a critical component) in comparison to other
duties involving surveillance, interrogation, evidence gathering, etc_

FinCEN dedicates its finite analytical resources to support those criminal
investigations demanding advanced expertise in interpreting the Ways
money moves, involving large amounts of data, or novel situations
where the insights from the specific investigation can be extrapolated
and shared across the many agencies FinCEN supports. In this past
year’s survey of law enforcement, FinCEN's customers reported a 6
percentage point increase to 86 percent of them confirming that FinCEN's
analytic reports contributed to the detection and deterrence of financial
crime, for example by generating a new lead, providing information
previously unknown, or resulting in the opening of a new investigation
This positive impact of FinCEN analytical support in individual cases

- be they related to healthcare fraud, narcotics trafficking, or terrorist
financing - Was particularly noteworthy when viewed in conjunction
with the increased number of cases Supported: in fiscal year 2011, the
number of law enforcement requests received was up 27 percent over
2010 and double that of only two years earlier in 2009.

On the regulatory front, FinCEN also delivered more substantive
improvements than in perhaps any year in its history. FinCEN saw
through to fruition the effort to reorganize our regulations in a more
clear and straightforward way, and thereby also provide a logical
framework for any future changes The MSB rules Were clarified to
better reflect evolution of the industry and its oversight over the past
dozen years. FinCEN also expanded its regulations to cover two new
sectors: prepaid access and non-bank mortgage brokers and originators,
which regulations will take full effect in 2012. The regulations over these
two distinct and significant financial sectors address regulatory gaps
that criminals have sought to exploit. In 2011, FinCEN also implemented
a regulation in furtherance of the Comprehensive lran Sanctions,
Accountability, and Divestment Act, in addition to the abovementioned
efforts to implement provisions of the Bank Secrecy Act.

 

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Message from the Director

Whatl am most proud about it is that our regulatory efforts in the
past year have been more closely coordinated with law enforcement
than ever before ~ at all stages from prioritizing our efforts in light of
risks and in seeking to strike the right balance in promoting legitimate
activity while making financial institutions more resistant to criminal
abuse. This unprecedented level of coordination also continues in our
advisories to financial institutions where we have sought to develop
red flags from actual law enforcement cases and our experience in
interpreting them.

ln the international arena, FinCEN continues to realize the vision of

our predecessors as well as gain commitments to do more for the
future. The Egrnont Group of financial intelligence units (FIUS) gained
seven new members swelling its ranks with representatives from

127 jurisdictions while also committing to further strengthen the FlU
channel for exchange of information. This underscores the global
recognition of the importance both of anti-money laundering and
counter-terrorist financing (AML/CFT) efforts as well as the critical

and unique role played by FIUs. More importantly, however, FinCEN
exchanged case information in furtherance of actual law enforcement
investigations with FIUS from almost 100 different jurisdictions. Egmont
discussions have also increasingly included AML/CFT regulatory
aspects a reflection that FIUs from a majority of jurisdictions around
the world now combine certain regulatory responsibilities as mutually
reinforcing together with the traditional functions of collection, analysis
and dissemination to law enforcement of financial information

]ust 5 years ago, the foremost question raised by financial institutions
was about AML/CFT reporting requirements - out of concern that
reports were filed but rarely reviewed. The public record is now
strong that the information reported by financial institutions is

utilized carefully and wisely to protect our citizens and our economy.
In past annual reports I have highlighted our efforts to share more
information with regulated institutions and promote communication
and understanding in both directions Today, there is a much more
constructive dialogue about how both industry and the government can
focus limited resources to the areas of greatest risk. FinCEN's outreach
efforts with financial institutions have been an unqualified success and
we look forward to continuing them, as resources permit, in particular
with newly regulated sectors

 

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Message from the Director

FinCEN's investment in information technology continues Following
3 years of planning, in 2010 FinCEN launched a multi-year IT
modernization, moving through design and building phases in 2011.
As this annual report is finalized for publication, FinCEN is preparing
to assume for the first time the system of record of the reports filed
pursuant to FinCEN regulations implementing the Bank Secrecy

Act. With this milestone, FinCEN Will also take over responsibilities
related to industry reporting that the IRS has performed for the past
forty years while continuing the transition from paper to electronic
filing. In 2012, FinCEN will begin synthesizing these reports with
other information sources to make enhanced information and a broader
range of data available to FinCEN analysts and external users together
with additional analytical tools We look forward to employing new,
more capable analytical tools not only in support of law enforcement,
but also in developing a more risk-based approach to our compliance
supervisory efforts particularly as we seek to cover newly regulated
sectors and to partner more closely with State supervisors Further
investments in the coming year will lead to future capacities to bring
critical, more refined, and more timely information to the attention of
targeted law enforcement personnel, and to further track the protection,
use, and usefulness of that information

In all of these achievements FinCEN’s greatest resource remains its
people, and the relationships of trust they have earned with our partners
across the country and across the globe. Their dedication and commitment
to FinCEN’s mission serves as a constant source of inspiration. As With
many others in public service, in a time of fiscal constraints we are called
upon to do more with less For the first time in FinCEN’s history, our staff
numbers declined, as we took a prudent posture to implement declining
budgets More than ever we need to focus on the unique value FinCEN
can create, prioritize efforts among many opportunities and manage
expectations among many external stakeholders as to what we can
reasonably achieve when we work together.

We begin 2012 with a long list of tasks including investing in our
people to prepare them to best put to use the expanded, lT-enabled
environment being developed; promoting a more risk-based approach
for facilitating compliance in expanded industry sectors; and engaging

 

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Message from the Director

with domestic and international partners committing increasing
resources and prioritization to utilizing financial intelligence l am sure
that FinCEN Will rise to these challenges and am confident that we are
at our strongest when we draw upon all of our authorities and know-
how from the law enforcement support and regulatory sides domestic
and international

james H. Freis, ]r.
Director
December 201 1

 

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Key Partners

 

inCEN works closely with
F regulatory, law enforcement,
private sector, and international
partners Organizations with Which
FinCEN has a strong Worl<ing relationship
include the Federal regulatory agencies
law enforcement, the Bank Secrecy Act
Advisory Group (BSAAG), and the
Egmont Group of FIUs. The BSAAG
provides a key forum for FinCEN'S
domestic constituencies to discuss
pertinent issues and to offer feedback
and recommendations for improving BSA
records and reports FinCEN interacts
with its international partners through the
Egmont Group, as well as through direct
information sharing agreements

Regulatory Agencies

Responsibility for conducting
examinations for compliance with
FinCEN's regulations has been delegated
to the following Federal regulatory
agencies with respect to the financial
institutions they supervise:

' Federal Deposit lnsurance Corporation

' Board of Govemors of the Federal
Reserve System

' Office of the Comptroller of the
Currency

' National Credit Union Administration

' U.S. Securities and Exchange
Commission

' U.S. Commodity Futures Trading
Commission

FinCEN has delegated compliance
examination activities for regulated
financial institutions without a Federal
regulator to the IRS-SB/SE. FinCEN
assists and supports all of these agencies
to promote effective and uniform
application of its regulations and they
refer to FinCEN cases of significant
non~cornpliance. FinCEN retains
responsibility for enforcement actions
for violations of the BSA and FinCEN’s
implementing regulations

FinCEN also works closely with State
regulators to promote compliance by the
financial institutions they supervise.

Law Enforcement

FinCEN partners with members of the
law enforcement community using a
number of mechanisms to facilitate broad
customer access and input. FinCEN has
relationships with the largest Federal

law enforcement agencies through direct
information sharing agreements and
full-time detailed assignments of law
enforcement agents and analysts to work
at FinCEN, and with the U.S. Attorneys’
Offices as well as DO]’s headquarters
information sharing agreements the
Financial Fraud Enforcement Task Force,
and DO]'s National Advocacy Center.
Similarly, the Gateway Coordinator
Program facilitates data access and
information sharing with central law
enforcement contacts in all 50 states and
major local authorities throughout the
country. FinCEN supports these agencies
investigative efforts and works with them
on potential financial crime-related issues

 

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